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                               UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO

     SAINT ALPHONSUS HEALTH
     ALLIANCE, INC., f/k/a ADVANTAGE                        Case No. 1:18-cv-00183-DCN
     CARE NETWORK, INC., an Idaho
     corporation, and SAINT ALPHONSUS                       SCHEDULING ORDER
     HEALTH SYSTEM, INC., an Idaho
     corporation,
                                                            (STANDARD TRACK)

                            Plaintiffs,

                 v.

     CORIZON, LLC, f/k/a
     CORRECTIONAL MEDICAL
     SYSTEMS, INC., a Missouri limited
     liability company, and CORIZON
     HEALTH, INC., a Delaware corporation,

                            Defendants.

         In accordance with the agreements reached in the stipulated Litigation Plan

submitted by counsel to the Court on October 3, 2018, and to further the just, speedy, and

inexpensive determination of this matter,

         NOW THEREFORE, IT IS SO ORDERED that the following deadlines and

procedures will govern this litigation:

1.       Dispositive Motion Deadline: All dispositive motions shall be filed by October

         11, 20191 This deadline, absent good cause, will not be extended even if you are


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   It is this Court’s policy to accept only one (1) motion to dismiss and one summary judgment motion per
party. If it appears, due to the complexity or numerosity of issues presented, that counsel is unable to
address all issues within the 20-page limit for briefs, Dist. Idaho Loc. R. 7.1(b)(1), then it is appropriate to
file a motion for permission to file an over-length brief, rather than filing separate motions for each issue.
The Court prefers reviewing one over-length brief in support, one over-length brief in response, and one


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        having discovery disputes. Late filed discovery disputes may not be considered

        good cause.

        a.       This is the critical event for case management and will dictate when the

                 trial will be set.

        b.       As provided below, a trial setting conference will be scheduled

                 immediately following resolution of all dispositive motions. To facilitate a

                 prompt trial setting, I will make every effort to schedule oral argument

                 within 60 days and issue a decision within 30 days after the oral argument.

                 If a decision is not issued within this time frame, I invite inquiry from

                 counsel as to the status of the decision.

2.      Amendment of Pleadings and Joinder of Parties: All motions to amend pleadings

        and join parties, except for allegations of punitive damages, shall be filed on or

        before January 21, 2019. This deadline shall only be extended for good cause

        shown.2 All parties are entitled to know the claims and parties well-before trial

        rather than be forced to pursue or defend against a moving target. Although this

        deadline precedes the general discovery deadline, the parties are directed to send

        out all discovery requests that might relate to amendment or joinder enough in

        advance of this amendment and joinder deadline to obtain the responses needed to



10-page reply brief, if any, rather than the panoply of briefs that are generated when multiple motions are
filed.
2
   The Ninth Circuit has held that motions to amend filed after the Scheduling Order deadline are
governed, not by the liberal provisions of Fed. R. Civ. P. 15(a), but instead, by the more restrictive
provisions of Fed. R. Civ. P. 16(b) requiring a showing of “good cause.” Johnson v. Mammoth
Recreations, Inc., 975 F.2d 604 (9th Cir. 1992).


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     make an informed decision on amendment and joinder.

3.   Alternative Dispute Resolution Plan: The parties have chosen to participate in

     settlement conference. ADR must be held by September 3, 2019. Within seven

     (7) days of this Order, the parties are directed to contact Emily Donnellan, the

     ADR Administrator, at adr@id.uscourts.gov, so that she may assign a settlement

     conference judge and schedule a date for the settlement conference. Please ensure

     that all emails directed to adr@id.uscourts.gov contain the case number and title in

     the email subject line.

4.   Discovery Plan: All discovery shall be in accordance with the Federal Rules of

     Civil Procedure, the Local Rules, and the parties’ stipulated discovery plan which

     is incorporated herein by reference.

5.   Clawback: Pursuant to Fed. R. Evid. 502(d), and Section VIII of the parties’

     stipulated discovery plan, it is hereby ORDERED that production of a privileged

     or work-product-protected document, whether inadvertent or otherwise, is not a

     waiver of privilege or work-product protection in this case or in any other federal

     or state proceeding.

6.   Completion of Discovery: All factual discovery will be completed by September

     16, 2019. These deadlines are for the completion of all discovery; it is not a

     deadline for discovery requests. Discovery requests must be made far enough in

     advance of this deadline to allow completion of the discovery by the deadline date.

     The parties may, by stipulation, agree to defer some trial-related discovery, such

     as discovery related to damage issues, until after I have ruled on any dispositive


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     issues.

7.   Disclosure of Experts:

     a.        The Plaintiff shall disclose the experts intended to be called at trial on or

               before May 15, 2019.

     b.        The Defendant shall disclose the experts intended to be called at trial on or

               before June 28, 2019.

     c.        All rebuttal experts shall be identified on or before August 2, 2019.

     d.        All expert discovery will be completed by September 16, 2019.

8.   Rules Governing Disclosures of Expert Witnesses: Within the deadlines for

     disclosure of expert witnesses set out in the scheduling order, the parties shall also

     provide – for each expert disclosed – the report described in Fed. R. Civ. P.

     26(a)(2)(B), as modified by Local Rule 26.2(b). Supplementation to the expert

     witness report shall be done in accordance with Fed. R. Civ. P. 26(e)(1). Pursuant

     to Local Rule 26.2(b), expert witnesses will not be allowed to offer any opinion

     not disclosed in the mandatory Rule 26 disclosures, supplementation, or

     deposition. This includes rebuttal experts. No undisclosed expert rebuttal opinion

     testimony will be allowed at trial.

9.   Scheduling of Trial and Pretrial Conference: Plaintiffs' counsel shall contact my

     Judicial Assistant, Amy Beers, within one week following the entry of a decision

     on all pending dispositive motions to make arrangements for a telephone

     scheduling conference between counsel and me in which the trial and pretrial

     conference shall be set. If no dispositive motion is filed, Plaintiffs' counsel shall


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          immediately contact Ms. Beers within one week of the dispositive motion filing

          deadline to set a telephone scheduling conference.

10.       Law Clerk: If counsel has a procedural or legal question that needs to be brought

          to my attention, please contact Bennett Briggs, the law clerk assigned to this case

          at (208) 334-1026. If this case is later reassigned or referred to another judge,

          consult the Judges’ webpage3 for the judges’ staff directory.

11.       Handling of Discovery Disputes and Non-disposition Motion:

          a.       Typically, I will not refer this case to a magistrate judge for resolution of

                   discovery disputes and non-dispositive motions. I will keep these motions

                   on my own docket.

          b.       The parties will strictly comply with the meet and confer requirements of

                   Local Rule 37.1 prior to filing any discovery motions.

          c.       In addition, I will not entertain any written discovery motions until the

                   Court has been provided with an opportunity to informally mediate the

                   parties’ dispute. To facilitate that mediation, the attorneys will first contact

                   Bennett Briggs, the law clerk assigned to this case, and shall provide him

                   with a brief written summary of the dispute and the parties’ respective

                   positions. Mr. Briggs may be able to offer suggestions that will resolve the

                   dispute without the need of my involvement. If necessary, an off-the-record

                   telephonic conference with me will then be scheduled as soon as possible. I



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    http://id.uscourts.gov/district/judges/Welcome.cfm


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            will seek to resolve the dispute during that conference and may enter

            appropriate orders on the basis of the conference. I will only authorize the

            filing of a discovery motion and written briefing if we are unable to resolve

            the dispute during the conference.

      d.    Prior to filing any discovery motions, counsel must certify, not only that

            they have complied with Local Rule 37.1, but that they have complied with

            the foregoing procedures.

12.   Calendaring Clerk: Scheduling matters and calendar issues may be directed to

      Amy Beers, who may be reached at (208) 478-8391.

13.   Docketing Clerk: If you have a docketing question, please contact a docket clerk at

      (208) 334-1361.


                                                 DATED: January 15, 2019


                                                 _________________________
                                                 David C. Nye
                                                 Chief U.S. District Court Judge




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